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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION

 UNITED STATES OF AMERICA,                   CR 16-107-BLG-SPW-7

                         Plaintiff,
                                             ORDER
            vs.

 CHRISTINA KAMRAN-KOHNJANI,

                         Defendant.



      At the request of the U.S. Probation Officer in the above-matter,

      IT IS HEREBY ORDERED that all Pre-sentence Report (PSR) dates set out

in the Court's Order of May 8, 2017 (Doc. 205) are VACATED until this case is

reset for sentencing.

      The Clerk of Court is directed to notify counsel of the making of this Order.

      DATED this 23rd day of June, 2017.


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                                             SUSANP. WATTERS
                                             United States District Judge


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